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EXHIBIT 1

18 U.S.C.A. § 3512

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§ 3512. Foreign requests for assistance in criminal investigations..., 18 USCA § 3512

United States Code Annotated
Title 18. Crimes and Criminal Procedure (Refs & Annos)
Part II. Criminal Procedure
Chapter 223. Witnesses and Evidence (Refs & Annos)

18 U.S.C.A. § 3512
§ 3512. Foreign requests for assistance in criminal investigations and prosecutions
Effective: October 19, 2009

Currentness

(a) Execution of request for assistance.—

(1) In general.--Upon application, duly authorized by an appropriate official of the Department of Justice, of
an attorney for the Government, a Federal judge may issue such orders as may be necessary to execute a request
from a foreign authority for assistance in the investigation or prosecution of criminal offenses, or in proceedings
related to the prosecution of criminal offenses, including proceedings regarding forfeiture, sentencing, and
restitution.

(2) Scope of orders.--Any order issued by a Federal judge pursuant to paragraph (1) may include the issuance
of--

(A) a search warrant, as provided under Rule 41 of the Federal Rules of Criminal Procedure;

(B) a warrant or order for contents of stored wire or electronic communications or for records related thereto,
as provided under section 2703 of this title;

(C) an order for a pen register or trap and trace device as provided under section 3123 of this title; or

(D) an order requiring the appearance of a person for the purpose of providing testimony or a statement, or
requiring the production of documents or other things, or both.

(b) Appointment of persons to take testimony or statements.—

(1) In general.—In response to an application for execution of a request from a foreign authority as described
under subsection (a), a Federal judge may also issue an order appointing a person to direct the taking of testimony
or statements or of the production of documents or other things, or both.

(2) Authority of appointed person.--Any person appointed under an order issued pursuant to paragraph (1)
may—

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(A) issue orders requiring the appearance of a person, or the production of documents or other things, or both;

(B) administer any necessary oath; and

(C) take testimony or statements and receive documents or other things.

(c) Filing of requests.--Except as provided under subsection (d), an application for execution of a request from
a foreign authority under this section may be filed--

(1) in the district in which a person who may be required to appear resides or is located or in which the documents
or things to be produced are located;

(2) in cases in which the request seeks the appearance of persons or production of documents or things that
may be located in multiple districts, in any one of the districts in which such a person, documents, or things
may be located; or

(3) in any case, the district in which a related Federal criminal investigation or prosecution is being conducted,
or in the District of Columbia.

(d) Search warrant limitation.--An application for execution of a request for a search warrant from a foreign
authority under this section, other than an application for a warrant issued as provided under section 2703 of this
title, shall be filed in the district in which the place or person to be searched is located.

(e) Search warrant standard.—A Federal judge may issue a search warrant under this section only if the foreign
offense for which the evidence is sought involves conduct that, if committed in the United States, would be
considered an offense punishable by imprisonment for more than one year under Federal or State law.

(f) Service of order or warrant.--Except as provided under subsection (d), an order or warrant issued pursuant
to this section may be served or executed in any place in the United States.

(g) Rule of construction.—Nothing in this section shall be construed to preclude any foreign authority or an
interested person from obtaining assistance in a criminal investigation or prosecution pursuant to section 1782 of
title 28, United States Code.

(h) Definitions.--As used in this section, the following definitions shall apply:

(1) Federal judge.--The terms “Federal judge” and “attorney for the Government” have the meaning given
such terms for the purposes of the Federal Rules of Criminal Procedure.

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(2) Foreign authority.--The term “foreign authority” means a foreign judicial authority, a foreign authority
responsible for the investigation or prosecution of criminal offenses or for proceedings related to the prosecution
of criminal offenses, or an authority designated as a competent authority or central authority for the purpose of
making requests for assistance pursuant to an agreement or treaty with the United States regarding assistance
in criminal matters.

CREDIT(S)

(Added Pub.L. 111-79, § 2(4), Oct. 19, 2009, 123 Stat. 2087.)

18 U.S.C.A. § 3512, 18 USCA § 3512
Current through P.L. 116-158.

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